                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )       NO. 3:12-00044
                                                     )       JUDGE CAMPBELL
LACY BRIAN WHITFIELD                                 )

                                             ORDER

         Pending before the Court is Defendant Lacy Brian Whitfield’s Motion to Continue Trial

Date (Docket No. 74). Through the Motion, counsel for Defendant asks that the trial be

continued because of calendaring conflicts. The Defendant has also filed a Waiver of Speedy

Trial rights (Docket No. 75). The Government has filed a Response (Docket No. 76).

         The Court is of the opinion that the Motion should be GRANTED. Accordingly, the trial

in this case is CONTINUED until June 10, 2014, at 9:00 a.m. The pretrial conference is

rescheduled for June 9, 2014, at 9:00 a.m.

         All documents ordered to be filed by Order (Docket No. 68) shall be filed by June 2,

2014.

         It is so ORDERED.

                                                     ____________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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